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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3019
           v.                        )
                                     )
TERESA MARIE JONES,                  )
                                     )                   ORDER
                Defendant.           )
                                     )




     IT IS ORDERED:

     Defendant’s motion for appointment of different counsel,
filing 27, is denied.

     DATED this 16th day of May, 2005.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
